                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,                         )   CASE NO. 1:18-CR-708
                                                  )
                        Plaintiff,                )   JUDGE CHRISTOPHER A. BOYKO
                                                  )
          v.                                      )
                                                  )
KENNETH TYSON,                                    )   DEFENDANT’S MOTION IN
                                                  )   OPPOSITION TO GOVERNMENT’S
                        Defendant.                )   APPLICATION FOR PRODUCTION OF
                                                  )   RECORDS BEFORE TRIAL – RULE
                                                      17(C)


          Defendant Kenneth Tyson, through his undersigned counsel, respectfully moves the Court

to deny the Government’s Application for Production of Records before Trial - Rule 17(c)

subpoena request to serve GoDaddy.com, LLC, Rackspace US, Inc., Microsoft Online Services,

Cardinal Community Credit Union.

          A Memorandum in support of this Motion is attached hereto and incorporated by reference

herein.

                                              Respectfully submitted,

                                              /s/ Edward Fadel
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                                              Attorneys for Defendant Kenneth Tyson




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                                      MEMORANDUM

       Tyson respectfully requests that this Honorable Court deny the Government’s Application

for Production of Records before Trial -Rule 17(c) subpoena request to serve GoDaddy.com, LLC

(“GoDaddy”), Rackspace US, Inc. (“Rackspace”), Microsoft Online Services (“Microsoft”),

Cardinal Community Credit Union. The purpose of this memorandum is to provide context for the

Government’s misuse of the subpoena process for records that are not relevant, inadmissible, and

lack the necessary specificity.

I.     INTRODUCTION

       On or about November 21, 2018, Kenneth Tyson (hereinafter, “Tyson”) was charged in a

five-count Indictment, alleging one count of conspiracy to commit honest services wire fraud,

three counts of honest services wire fraud, and one count of bribery (Doc. 1). During the

Government’s investigation, presumably, multiple grand jury subpoenas were issued. More

specifically, the Government provided the defense over 38,000 records from various companies,

including: Huntington National Bank for five bank accounts held by Tyson; CF Bank Records for

OnCall Plumbing; KeyBank records for the CLB Services and the Cuyahoga County Land Bank;

PNC Bank records for Drain Guru; AT&T phone records for the phone number 216-534-7277;

and email communications of the Cuyahoga County Land Bank that span years. The Government

is now seeking additional financial records and electronic service usage information from various

providers.

       The subpoenas requested for GoDaddy.com, LLC and Microsoft Online Services, relate to

five accounts with an @cuyahogalandbank.org domain addresses, one account with an

@rcidemolition.com domain address, and one account with an @rciteam.com domain address for

the period January 1, 2013 to February 1, 2014. The subpoena requested for Rackspace US, Inc,


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relates to five accounts with an @cuyahogalandbank.org domain address for the period January 1,

2013 to February 1, 2014. Generally, these subpoenas request account records detailing names,

addresses, telephone records, session times and duration, IP addresses, telephone or instrument

numbers, VOIP or other phone call detail records, subscriber numbers or identities, payment

information, and secondary or recovery contact information (hereinafter, “Electronic Service

Provider Records”). The account names have been redacted; however, the defense believes that

all these accounts were all known to the Government pre-indictment.

       The subpoena requested for Cardinal Community Credit Union relates to the business

financial records of Kenneth Tyson/EPIC Lifestyle LLC for the time period from January 1, 2014

to present. Despite their knowledge of EPIC Lifestyle LLC pre-indictment, the Government did

not previously request these records. The Government, having had ample time to use the grand

jury subpoena power, now seeks to use Fed. R. Crim. P. 17(c) to issue subpoenas for additional

discovery over seven months after Tyson was indicted. Tyson submits that the Government

subpoenas are unreasonable, oppressive, and an abuse of power.


II.    LAW AND ARGUMENT


       Tyson respectfully requests that this Court deny the Government’s Application for

Production of Records before Trial -Rule 17(c) subpoena request to serve GoDaddy.com, LLC,

Rackspace US, Inc., Microsoft Online Services, Cardinal Community Credit Union. Criminal

Rule 17(c)(1), Producing Documents and Objects, provides:

          A subpoena may order the witness to produce any books, papers, documents,
          data, or other objects the subpoena designates. The court may direct the witness
          to produce the designated items in court before trial or before they are to be
          offered in evidence. When the items arrive, the court may permit the parties and
          their attorneys to inspect all or part of them.



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As set forth in United States v. Nixon, 418 U.S. 683, 699-700 (1974), a party can subpoena

materials or testimony if he can show: (1) that the documents are evidentiary and relevant; (2) that

they are not otherwise procurable reasonably in advance of trial by the exercise of due diligence;

(3) that the party cannot properly prepare for trial without such production and inspection in

advance of trial and that the failure to obtain such inspection may tend unreasonably to delay the

trial; and (4) that the application is made in good faith and is not intended as a general “fishing

expedition.” Put simply, to carry the burden under Rule 17, the requesting party “must clear three

hurdles: (1) relevancy; (2) admissibility; and (3) specificity.” Id. The proponent of the subpoena

has the burden of demonstrating that the subpoena is not unreasonable or oppressive by meeting

the standards set forth in Nixon. Id.

       The requirements of Rule 17(c) as stated by the Court apply equally to the Government

and to the defense. See United States v. Vanegas,112 F.R.D. 235, 239 (D.N.J.1986) (“The same

principles apply where the moving party is the government.”). Neither the government nor the

defense have a right to use the power of the Court to obtain discovery once an indictment is

returned. See also United States v. Hedge, 462 F.2d 220, 222–23 (5th Cir.1972) (noting

Government’s subpoena of witnesses to appear for pre-trial interview at office of the U.S. Attorney

was improper); United States v. Standard Oil Co., 316 F.2d 884, 897 (7th Cir.1963) (finding that

Government’s use of subpoenas to summons witness for private interrogation without counsel was

not proper according to the Court’s interpretation of Rule 17).

       The Government had exclusive control of discovery prior to the premature Indictment of

Tyson and cannot now use the power of the Court to obtain irrelevant records through an overly

broad request hoping to find more information. In the Government’s Reply to Defendant’s

Opposition to Government’s Motion for Protective Order, the Government stated, “[a]dditionally,



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due to the massive amount of emails the government intends to produce, the government has not

had the opportunity to review each email it intends to produce.” (Doc. 11 PageID #59). The

Government’s failure to review the materials in their possession and to issue supplemental grand

jury subpoenas, cannot be circumvented using 17(c) subpoenas. This is an abuse of power at this

juncture in the proceedings. The Government fails to meet the three “hurdles” set forth in Nixon

in their application for Rule 17(c) subpoenas: (1) relevancy; (2) admissibility; and (3) specificity.

418 U.S. 683, 699-700 (1974). We address each subpoena individually.

       a. GoDaddy.com, LLC

               i. Relevancy

       The Government cannot meet the burden of showing that the GoDaddy Electronic Service

Provider Records, for the time period beginning before the alleged events in the Indictment, are

relevant. In the application for the GoDaddy.com subpoena, the Government seeks over one years’

worth of records for seven different accounts, a portion of which has been redacted from the filing

made available to the defense. The Indictment alleges three counts of Honest Services Wire Fraud

in violation of 18 U.S.C. §§ 1343, 1346, and 2. The alleged transmissions occurred on three

specific dates, November 26, 2013, December 5, 2013, and December 11, 2013, in a two-week

time period, not the 13-month period requested. Therefore, records outside of these three dates

are clearly not relevant.

       The Indictment alleges the transmission originating email location was Cleveland, Ohio

and the pass-through e-mail account server location was the GoDaddy server located in Arizona.

Based on discovery provided and reviewed thus far, the Government has failed to produce any

evidence supporting the locations alleged in paragraph 55 of the Indictment. However, based on

the Indictment, the Government believed GoDaddy servers were utilized in the alleged



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transmissions and therefore were aware of the potential relevancy of the records at the time of the

Indictment.   Given the wire fraud allegations, we question the veracity of the grand jury

presentation without such records.     Without evidence to substantiate the allegations in the

Indictment, and evidence that the Government has exhausted all other sources of information, the

defense has no grounds to believe the GoDaddy records are relevant. Pre-indictment, when it had

all the power, the Government felt the records were not relevant for discovery or presentation to

the grand jury. The Government’s use of 17(c) at this juncture to remedy a flawed investigation

is an abuse of power.

       In the Government’s Application for Production of Records Before Trial pursuant to Rule

17(c) of the Federal Rules of Criminal Procedure, they fail to identify the relevancy of the records

sought, as required by Nixon. Since the Government has not limited the request to relevant material

or explained the potential relevancy to the charges in the Indictment, the Court should hold that

the subpoena fails to meet the relevancy requirement set forth in Nixon.


               ii. Admissibility

       Next, Tyson submits that these records are inadmissible because they are not relevant, as

described above. The Government’s use of 17(c) to obtain records, for a time period where limited

criminal activity was alleged, cannot possibly have a tendency to make a fact more or less probable

and lead to evidence that could be of consequence in this action. Therefore, Tyson anticipates that

the GoDaddy records will be inadmissible at trial. In the Government’s Application for Production

of Records Before Trial pursuant to Rule 17(c) of the Federal Rules of Criminal Procedure, they

fail to identify the grounds for admissibility of the records sought, as required by Nixon. Since

the Government has not limited the request to admissible material or explained the admissibility




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of the records, the Court should hold that the subpoena fails to meet the application requirements

under Rule 17(c).


               iii. Specificity

       The third “hurdle” that the Government must clear is that of specificity. The GoDaddy

subpoena is not specific in time and simply requests the same general information requested from

Rackspace and Microsoft. The main acts alleged in the Indictment relate to specific transmissions

on November 26, 2013, December 5, 2013, and December 11, 2013. Despite these very specific

dates and times, the Government has requested ten general types of information over a thirteen-

month period. This is a general fishing expedition into records that relate to a time period before

and after the alleged events and for records that the party may not maintain. A party’s request will

generally be sufficiently specific if “it limits documents to a reasonable period of time and states

with reasonable precision the subjects to which the documents relate.” United States v. Wittig, 250

F.R.D. 548, 552 (D. Kan. 2008); see also United States v. Shanahan, 252 F.R.D. 536, 540 (E.D.

Mo. 2008) (“As the period of time increases, so must the subpoena’s particularity.”). “If the

moving party cannot reasonably specify the information contained or believed to be contained in

the documents sought but merely hopes something useful will turn up, the requirement of

specificity will not have been met.” United States v. Tucker, 249 F.R.D. 58, 62-63 (S.D.N.Y.

2008); accord Wittig, 250 F.R.D. at 552 (“The specificity and relevance requirements demand

more than the title of a document and conjecture concerning its contents.”).

       The Government failed to specify the time period in any meaningful way and requested

broad categories of information. For example, the Government requests, “Telephone or instrument

numbers (including MAC addresses), All VOIP or other phone call detail records.”                The

Government does not specify what is meant by “call detail records.” Call details records can


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include location data that establish the whereabouts of an individual during the entirety of the call.

Pursuant to Carpenter v. United States, individuals have a reasonable expectation of privacy in

their cell-site location information and obtaining such information constitutes a search requiring a

warrant. 138 S.Ct. 2206 (2018). Given the broad and generic nature of the Government’s request

and the lack of specificity required under Nixon, the application must be denied.

       It is also unclear whether GoDaddy, a publicly traded internet domain registration and web

hosting company, even maintains such records or provides the types of services indicated in the

subpoena. The lack of specificity in these requests for the types of records and the time period is

clearly a fishing expedition in violation of Nixon. Therefore, the Government’s application for

GoDaddy records should be denied.


       b. Rackspace US, LLC

               i. Relevancy

       The Government cannot meet the burden of showing that the Rackspace Electronic Service

Provider Records, for the time period beginning before the alleged events in the Indictment, are

relevant. In the application for the Rackspace subpoena, the Government seeks over one years’

worth of records for five different accounts, a portion of which has been redacted from the filing

made available to the defense. The Indictment alleges three counts of Honest Services Wire Fraud

in violation of 18 U.S.C. §§ 1343, 1346, and 2. The alleged transmissions occurred on three

specific dates, November 26, 2013, December 5, 2013, and December 11, 2013, in a two-week

time period, not the 13-month period requested. Therefore, records outside of these three dates

are clearly not relevant.

       The Indictment alleges the transmission originating email location was Cleveland, Ohio

and the pass-through e-mail account server location was the GoDaddy server located in Arizona.


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Based on discovery provided and reviewed thus far, the Government has failed to produce any

evidence supporting the locations alleged in paragraph 55 of the Indictment. However, based on

discovery produced by the Government, the Government had actual or constructive knowledge,

pre-indictment, of the Cuyahoga County Land Bank’s use of Rackspace and therefore were aware

of the potential relevancy of the records at the time of the Indictment. Without evidence to

substantiate these allegations, or evidence to suggest they have exhausted all other sources of

information, the defense has no grounds to believe the Rackspace records are relevant. Pre-

indictment, the Government felt the records were not relevant enough for discovery. The

Government’s use of 17(c) at this juncture to remedy a flawed investigation is an abuse of power.

       In the Government’s Application for Production of Records Before Trial pursuant to Rule

17(c) of the Federal Rules of Criminal Procedure, they fail to identify the relevancy of the records

sought, as required by Nixon.      Since the Government has not limited the request to relevant

material or explained the potential relevancy to the charges in the Indictment, the Court should

hold that the subpoena fails to meet the relevancy requirement set forth in Nixon.


               ii. Admissibility

       Next, Tyson submits that these records are inadmissible because they are not relevant, as

described above. The Government’s use of 17(c) to obtain records, for a time period where limited

criminal activity was alleged, cannot possibly have a tendency to make a fact more or less probable

and lead to evidence that could be of consequence in this action. Therefore, Tyson anticipates that

the Rackspace records will be inadmissible at trial.       In the Government’s Application for

Production of Records Before Trial pursuant to Rule 17(c) of the Federal Rules of Criminal

Procedure, they fail to identify the grounds for admissibility of the records sought, as required by

Nixon. Since the Government has not limited the request to admissible material or explained the


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admissibility of the records, the Court should hold that the subpoena fails to meet the application

requirements under Rule 17(c).


               iii. Specificity

       The third “hurdle” that the Government must clear is that of specificity. The Rackspace

subpoena is not specific in time and simply requests the same general information requested from

GoDaddy and Microsoft, albeit for five rather than seven accounts. The main wires alleged in the

Indictment related to the transmissions on November 26, 2013, December 5, 2013, and December

11, 2013. Despite these very specific dates, the Government has requested ten general types of

information over a thirteen-month period. This is clearly a general fishing expedition as the

records relate to the time period before and after the alleged events and for records that the party

may not maintain. A party’s request will generally be sufficiently specific if “it limits documents

to a reasonable period of time and states with reasonable precision the subjects to which the

documents relate.” United States v. Wittig, 250 F.R.D. 548, 552 (D. Kan. 2008); see also United

States v. Shanahan, 252 F.R.D. 536, 540 (E.D. Mo. 2008) (“As the period of time increases, so

must the subpoena’s particularity.”). “If the moving party cannot reasonably specify the

information contained or believed to be contained in the documents sought but merely hopes

something useful will turn up, the requirement of specificity will not have been met.” United States

v. Tucker, 249 F.R.D. 58, 62-63 (S.D.N.Y. 2008); accord Wittig, 250 F.R.D. at 552 (“The

specificity and relevance requirements demand more than the title of a document and conjecture

concerning its contents.”).

       The Government failed to specify the time period in any meaningful way and requested

broad categories of information. For example, the Government requests, “Telephone or instrument

numbers (including MAC addresses), All VOIP or other phone call detail records.”               The


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Government does not specify what is meant by “call detail records.” Call details records can

include location data that establish the whereabouts of an individual during the entirety of the call.

Pursuant to Carpenter v. United States, individuals have a reasonable expectation of privacy in

their cell-site location information and obtaining such information constitutes a search requiring a

warrant. 138 S.Ct. 2206 (2018). Given the broad and generic nature of the Government’s request

and the lack of specificity in contradiction with Nixon, the application must be denied.

       It is also unclear whether Rackspace, a cloud computing company, even maintains such

records or provides the types of services indicated in the subpoena. The lack of specificity in these

requests for the types of records and the time period is clearly a fishing expedition in violation of

Nixon. Therefore, the Government’s application for Rackspace records should be denied.


       c. Microsoft Online Services

               i. Relevancy

       The Government cannot meet the burden of showing that the Microsoft Electronic Service

Provider Records, for the time period beginning before the alleged events in the Indictment, are

relevant. In the application for the Microsoft subpoena, the Government seeks over one years’

worth of records for seven different accounts, a portion of which has been redacted from the filing

made available to the defense. The Indictment alleges three counts of Honest Services Wire Fraud

in violation of 18 U.S.C. §§ 1343, 1346, and 2. The alleged transmissions occurred on three

specific dates, November 26, 2013, December 5, 2013, and December 11, 2013, in a two-week

time period, not the 13-month period requested. Therefore, Tyson submits the records outside of

these three dates are not relevant.

       The Indictment alleges the transmission originating email location was Cleveland, Ohio

and the pass-through e-mail account server location was the GoDaddy server located in Arizona.


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Based on discovery provided and reviewed thus far, the Government has failed to produce any

evidence supporting the locations alleged in paragraph 55 of the Indictment. However, based on

discovery produced by the Government, the Government had actual or constructive knowledge

pre-indictment of the Cuyahoga County Land Bank’s use of Microsoft products and therefore were

aware of the potential relevancy of the records at the time of the Indictment. Without evidence to

substantiate this request, the defense has no grounds to believe the Microsoft records are relevant.

The Government, prior to indictment, felt the records were not relevant enough for discovery or

their presentation. The Government’s use of 17(c) at this juncture to remedy a flawed investigation

is an abuse of power.

       In the Government’s Application for Production of Records Before Trial pursuant to Rule

17(c) of the Federal Rules of Criminal Procedure, they fail to identify the relevancy of the records

sought, as required by Nixon. Since the Government has not limited the request to relevant material

or explained the potential relevancy to the charges in the Indictment, the Court should hold that

the subpoena fails to meet the relevancy requirement set forth in Nixon.


               ii. Admissibility

       Next, Tyson submits that these records are inadmissible because they are not relevant, as

described above. The Government’s use of 17(c) to obtain records, for a time period where limited

criminal activity was alleged, cannot possibly have a tendency to make a fact more or less probable

and lead to evidence that could be of consequence in this action. Therefore, Tyson anticipates that

the Microsoft records will be inadmissible at trial. In the Government’s Application for Production

of Records Before Trial pursuant to Rule 17(c) of the Federal Rules of Criminal Procedure, they

fail to identify the grounds for admissibility of the records sought, as required by Nixon. Since

the Government has not limited the request to admissible material or explained the admissibility


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of the records, the Court should hold that the subpoena fails to meet the application requirements

under Rule 17(c).


               iii. Specificity

       The third “hurdle” that the Government must clear is that of specificity. The Microsoft

subpoena is not specific in time and simply requests the same general information requested from

GoDaddy and Rackspace. The main acts alleged in the Indictment related to specific transmissions

on November 26, 2013, December 5, 2013, and December 11, 2013. Despite these very specific

dates and times, the Government has requested ten general types of information over a thirteen-

month period. This is clearly a general fishing expedition as the records relate to the time period

before and after the alleged events and for records that the party may not maintain. A party’s

request will generally be sufficiently specific if “it limits documents to a reasonable period of time

and states with reasonable precision the subjects to which the documents relate.” United States v.

Wittig, 250 F.R.D. 548, 552 (D. Kan. 2008); see also United States v. Shanahan, 252 F.R.D. 536,

540 (E.D. Mo. 2008) (“As the period of time increases, so must the subpoena’s particularity.”). “If

the moving party cannot reasonably specify the information contained or believed to be contained

in the documents sought but merely hopes something useful will turn up, the requirement of

specificity will not have been met.” United States v. Tucker, 249 F.R.D. 58, 62-63 (S.D.N.Y.

2008); accord Wittig, 250 F.R.D. at 552 (“The specificity and relevance requirements demand

more than the title of a document and conjecture concerning its contents.”).

       The Government failed to specify the time period in any meaningful way and requested

broad categories of information. For example, the Government requests, “Telephone or instrument

numbers (including MAC addresses), All VOIP or other phone call detail records.”                 The

Government does not specify what is meant by “call detail records.” Call details records can


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include location data that establish the whereabouts of an individual during the entirety of the call.

Pursuant to Carpenter v. United States, individuals have a reasonable expectation of privacy in

their cell-site location information and obtaining such information constitutes a search requiring a

warrant. 138 S.Ct. 2206 (2018). Given the broad and generic nature of the Government’s request

and the lack of specificity required under Nixon, the application must be denied.

       It is also unclear whether Microsoft Online Services, Microsoft’s hosted software offering,

even maintains such records or provides the types of services indicated in the subpoena during the

time period requested. The records produced in discovery indicate that the Cuyahoga County Land

Bank upgraded the organization’s email to Office365 in May of 2014, four months after the time

period requested in the subpoena. The lack of specificity in these requests for the types of records

and the time period amounts to a fishing expedition in violation of Nixon. Therefore, the

Government’s application for Rackspace records should be denied.


       d. Cardinal Community Credit Union

               i. Relevancy

       The Government has requested the court to issue a subpoena to Cardinal Community Credit

Union for bank records related to Kenneth Tyson/EPIC Lifestyle LLC. The Government cannot

meet the burden of showing that the financial records of EPIC Lifestyle, under the ownership of

Tyson, for the time period beginning after the alleged events in the indictment and continuing to

the present, are relevant. In the application for the Cardinal Community Credit Union subpoena,

the Government seeks nearly five and half years’ worth of records. Nearly all of the alleged events,

that give rise to the indictment, occurred in the fall of 2013, or before the requested records. Based

on the indictment, EPIC Lifestyle is alleged to have owned the home, where the alleged repairs

are at issue, from June 18, 2013 to September 21, 2015. However, neither the indictment, nor the


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limited records provided in discovery, allege any criminal conduct on behalf of EPIC Lifestyle.

The Government alleges that free services were provided. This unreasonable and oppressive

request amounts to a fishing expedition of the grandest scale.

        Based on discovery provided thus far, the Government felt bank records were relevant to

the grand jury process. The Government demonstrated its ability to subpoena and obtain five

separate accounts for Tyson. The Government was also aware of EPIC Lifestyle at the time of the

Indictment. Pre-indictment, when it had all the power, the Government felt the records were not

relevant for discovery or presentation to the grand jury. The Government’s use of 17(c) at this

juncture is an abuse of power.

        In the Government’s Application for Production of Records Before Trial pursuant to Rule

17(c) of the Federal Rules of Criminal Procedure, they fail to identify the relevancy of the records

sought, as required by Nixon.       Since the Government has not limited the request to material

relevant to the charges in the Indictment and no conceivably relevant material exists in records

sought, the Court should hold that the subpoena fails to meet the relevancy requirement set forth

in Nixon.


                ii. Admissibility

        Next, Tyson submits that these records are inadmissible because they are not relevant, as

described above. The Government’s use of 17(c) to obtain business account information from

Tyson, for a time period where no criminal activity was alleged, cannot possibly have a tendency

to make a fact more or less probable and lead to evidence that could be of consequence in this

action. Therefore, Tyson submits that the Cardinal Community Credit Union records will be

inadmissible at trial.


                iii. Specificity

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       The third “hurdle” that the Government must clear is that of specificity. The Government

has requested “any and all records” relative to “Kenneth Tyson / EPIC Lifestyle LLC” for a five-

and-a-half-year period. This is clearly a general fishing expedition as the records relate to the time

period after the alleged events. A party’s request will generally be sufficiently specific if “it limits

documents to a reasonable period of time and states with reasonable precision the subjects to which

the   documents     relate.” United   States   v.    Wittig,   250   F.R.D.   548,    552   (D.   Kan.

2008); see also United States v. Shanahan, 252 F.R.D. 536, 540 (E.D. Mo. 2008) (“As the period

of time increases, so must the subpoena’s particularity.”). “If the moving party cannot reasonably

specify the information contained or believed to be contained in the documents sought but merely

hopes something useful will turn up, the requirement of specificity will not have been met.” United

States v. Tucker, 249 F.R.D. 58, 62-63 (S.D.N.Y. 2008); accord Wittig, 250 F.R.D. at 552 (“The

specificity and relevance requirements demand more than the title of a document and conjecture

concerning its contents.”).

       The Government failed to specify the time period in any meaningful way and requested

“any and all records,” clearly a quintessential fishing expedition. See e.g. United States v.

Mendinueta-Ibarro, 956 F. Supp. 2d 511, 513 (S.D.N.Y. 2013) (“Subpoenas seeking ‘any and all’

materials, without mention of ‘specific admissible evidence,’ justify the inference that the [party]

is engaging in the type of ‘fishing expedition’ prohibited by Nixon.”); United States v. Al-Amin,

No. 1:12-CR-50, 2013 WL 3865079, at *7 (E.D. Tenn. July 25, 2013) (“Courts have also noted

that ‘any and all’ requests are particularly suspect under the specificity prong of

a Rule 17(c) analysis.”); United States v. Reyes, 239 F.R.D. 591, 606 (N.D. Cal. 2006) (“Where,

as here, a [party] requests any and all information related to a particular policy or procedure, courts

have rejected such requests as an abuse of Rule 17(c).”). The Government’s request amounts to a



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fishing expedition into EPIC’s bank records. Therefore, the Application for Production of Records

before Trial -Rule 17(c) subpoena for Cardinal Community Credit Union should be denied.


   III.      CONCLUSION

          The Government’s subpoenas are neither relevant, admissible or specific. For good cause

shown, Defendant respectfully requests that this honorable Court deny the Government’s

Application for Production of Records before Trial -Rule 17(c).

                                              Respectfully submitted,

                                              /s/ Edward Fadel
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                                              Attorney for Defendant Kenneth Tyson




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 1, 2019 a copy of the foregoing was filed electronically. Notice

of this filing will be sent to all parties by operation of the Court’s electronic filing system. Parties

may access this filing through the Court’s system.



                                                        /s/ Edward Fadel
                                                        Edward Fadel

                                                        Attorney for Defendant Kenneth Tyson




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